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                   IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )               CR 612-018
                                           )
TERRANCE GERARD STANTON                    )
                                           )

            GOVERNMENT’S RESPONSE IN OPPOSITION TO
          DEFENDANT’S MOTION FOR SENTENCE REDUCTION

      Defendant Terrance Gerard Stanton requests that this Court reduce his

sentence; however, it is unclear whether he is requesting a reduction under 18 U.S.C.

§ 3582(c) or for compassionate release based upon the recently passed First Step Act

of 2018, Pub. L. 115-391, 132 Stat. 5194 (2018). (Doc. 1386.) Either way, this Court

should deny the request. First, there is no vehicle under § 3852(c) by which Stanton

can obtain a sentence reduction. Second, as to compassionate release, Stanton fails

to demonstrate he exhausted his administrative remedies or to present circumstances

justifying such extraordinary relief.    Therefore, the United States respectfully

requests that this Court deny Stanton’s motion.

                               Factual Background

      In July 2013, Stanton was convicted at trial of conspiracy to distribute several

types of controlled substances, as well as multiple distribution and telephone counts.

(PSR ¶¶ 1-5.) The presentence investigation report (PSR) assessed a total offense

level of 41 and a criminal history category of II, resulting in an advisory guideline

range of 360 months’ to life imprisonment. (PSR ¶¶ 31, 39, 59.) This Court sentenced
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him to life imprisonment on the conspiracy count, 20-years’ imprisonment on the

distribution count, and four years’ imprisonment on each of the telephone counts.

(Doc. 951.) His convictions and sentences were affirmed on appeal. See United States

v. Stanton, 589 F. App’x 477 (11th Cir. 2014) (mem.).

        In October 2015, this Court reduced Stanton’s sentence on the conspiracy count

to 365 months’ imprisonment, as a result of retroactive amendments to the

sentencing guidelines. (Doc. 1185.) Stanton’s collateral challenge to his conviction

under 28 U.S.C. § 2255 was denied. See Stanton v. United States, No. CV 615-064,

2017 WL 977504 (S.D. Ga. Jan. 9, 2017).

        Stanton is currently incarcerated at Edgefield FCI in Edgefield, South

Carolina with a projected release date of August 16, 2039.

                                   Legal Analysis

   I.       Section 3582(c) does not authorize the Court to reduce Stanton’s
            sentence.

        First, to the extent that Stanton is asking this Court to either modify its

original judgment, or otherwise reduce his sentence, 18 U.S.C. § 3582(c) and Federal

Rule of Criminal Procedure 35 are the only methods, in this particular case, by which

the Court could possible modify its already imposed sentence. 1 The exceptions for

modifying a judgment are extremely narrow, and Stanton meets none of them here. 2



        The legal avenues by which a court may modify a final judgment are narrow
        1

and rare. See United States v. Stossel, 348 F.3d 1320, 1321-22 & n.2 (11th Cir.
2003) (discussing statutes and rules authorizing modification).

        For example, the Bureau of Prisons has not filed a motion asking for a
        2

reduction due to Stanton’s age and circumstances, see 18 U.S.C. § 3582(c)(1)(A), the
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See 18 U.S.C. §§ 3582(b), (c)(1)(B) & (c)(2); Fed. R. Crim. P. 35; United States v.

Phillips, 597 F.3d 1190, 1194-95 (11th Cir. 2010) (“The authority of a district court to

modify an imprisonment sentence is narrowly limited by statute.”). He also fails to

cite any federal statute, case, or rule of criminal procedure that would allow this

Court to reduce his sentence. As such, this Court is without jurisdiction to modify

Stanton’s sentence under § 3582(c). See United States v. Castra, 152 F. App’x 777,

781 (11th Cir. 2005) (discussing limited circumstances in which district court may

modify sentence).

   II.      Stanton fails to meet the requirements for compassionate release.

         A. Statutory Background

         The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by

the First Step Act on December 21, 2018, provides in part:

         (c) Modification of an Imposed Term of Imprisonment.—The court may
         not modify a term of imprisonment once it has been imposed except
         that—

         (1) in any case—

         (A) the court, upon motion of the Director of the Bureau of Prisons, or
         upon motion of the defendant after the defendant has fully exhausted
         all administrative rights to appeal a failure of the Bureau of Prisons to
         bring a motion on the defendant’s behalf or the lapse of 30 days from the
         receipt of such a request by the warden of the defendant’s facility,
         whichever is earlier, may reduce the term of imprisonment (and may
         impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term
         of imprisonment), after considering the factors set forth in section


government has not filed a Rule 35 motion, see id. § 3582(c)(1)(B), and Stanton’s
advisory Guideline range has not been lowered again by a retroactive amendment,
see id. § 3582(c)(2). The time limit for correcting the sentence due to “arithmetical,
technical, or other clear error” has passed. See Fed. R. Crim. P. 35(a).
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      3553(a) to the extent that they are applicable, if it finds that—

      (i) extraordinary and compelling reasons warrant such a reduction . . .

      and that such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission . . . .

Further, 28 U.S.C. § 994(t) provides: “The Commission, in promulgating general

policy statements regarding the sentencing modification provisions in section

3582(c)(1)(A) of title 18, shall describe what should be considered extraordinary and

compelling reasons for sentence reduction, including the criteria to be applied and a

list of specific examples. Rehabilitation of the defendant alone shall not be considered

an extraordinary and compelling reason.” The relevant policy statement of the

Commission is binding on the Court. See Dillon v. United States, 560 U.S. 817, 827

(2010) (where 18 U.S.C. § 3582(c)(2) permits a sentencing reduction based on a

retroactive guideline amendment, “if such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission,” the Commission’s pertinent

policy statements are binding on the court). 3



      3 Prior to the passage of the First Step Act, while the Commission policy
statement was binding on the Court’s consideration of a motion under
§ 3582(c)(1)(A), such a motion could only be presented by BOP. The First Step Act
added authority for an inmate himself to file a motion seeking relief, after
exhausting administrative remedies, or after the passage of 30 days after
presenting a request to the warden, whichever is earlier.

       Under the law, the inmate does not have a right to a hearing. Rule 43(b)(4) of
the Federal Rules of Criminal Procedure states that a defendant need not be
present where “[t]he proceeding involves the correction or reduction of sentence
under Rule 35 or 18 U.S.C. § 3582(c).” See Dillon, 560 U.S. at 827-28 (observing
that, under Rule 43(b)(4), a defendant need not be present at a proceeding under
Section 3582(c)(2) regarding the imposition of a sentencing modification).


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      The Sentencing Guidelines policy statement appears at § 1B1.13, and provides

that the Court may grant release if “extraordinary and compelling circumstances”

exist, “after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that

they are applicable,” and the Court determines that “the defendant is not a danger to

the safety of any other person or to the community, as provided in 18 U.S.C.

§ 3142(g).”

      Critically, in application note 1 to the policy statement, the Commission

identifies the “extraordinary and compelling reasons” that may justify compassionate

release.      See United States v. Wilkes, 464 F.3d 1240, 1245 (11th Cir. 2006)

(“Commentary and Application Notes of the Sentencing Guidelines are binding on

the courts unless they contradict the plain meaning of the text of the Guidelines.”

(internal quotation marks omitted)). The note provides as follows:

      1. Extraordinary and Compelling Reasons.—Provided the defendant
      meets the requirements of subdivision (2) [regarding absence of danger
      to the community], extraordinary and compelling reasons exist under
      any of the circumstances set forth below:

      (A)       Medical Condition of the Defendant.—

                (i)    The defendant is suffering from a terminal illness (i.e., a
                serious and advanced illness with an end of life trajectory). A
                specific prognosis of life expectancy (i.e., a probability of death
                within a specific time period) is not required. Examples include
                metastatic solid-tumor cancer, amyotrophic lateral sclerosis
                (ALS), end-stage organ disease, and advanced dementia.



      There is no right to counsel with respect to a motion for compassionate
release under 18 U.S.C. § 3582(c). See United States v. Webb, 565 F.3d789, 794
(11th Cir. 2009) (holding there is no constitutional right to counsel under similar §
3582(c)(2) proceeding requesting sentence reduction).


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             (ii)   The defendant is—

                    (I)    suffering from a serious physical or medical
                    condition,

                    (II)  suffering from a serious functional or cognitive
                    impairment, or

                    (III) experiencing deteriorating physical       or mental
                    health because of the aging process,

                    that substantially diminishes the ability of the defendant
                    to provide self-care within the environment of a
                    correctional facility and from which he or she is not
                    expected to recover.

      (B)      Age of the Defendant.—The defendant (i) is at least 65 years old;
      (ii) is experiencing a serious deterioration in physical or mental health
      because of the aging process; and (iii) has served at least 10 years or 75
      percent of his or her term of imprisonment, whichever is less.

      (C)    Family Circumstances.—

             (i)   The death or incapacitation of the caregiver of the
             defendant’s minor child or minor children.

             (ii)   The incapacitation of the defendant’s spouse or registered
             partner when the defendant would be the only available caregiver
             for the spouse or registered partner.

      (D)   Other Reasons.—As determined by the Director of the Bureau of
      Prisons, there exists in the defendant’s case an extraordinary and
      compelling reason other than, or in combination with, the reasons
      described in subdivisions (A) through (C).

For its part, consistent with note 1(D), BOP promulgated Program Statement

5050.50,    available    at   https://www.bop.gov/policy/progstat/5050_050_EN.pdf,

amended effective January 17, 2019, to set forth its evaluation criteria.

      In general, the defendant has the burden to show circumstances meeting the

test for compassionate release. See United States v. Heromin, No. 11-550, 2019 WL

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2411311, at *2 (M.D. Fla. June 7, 2019) (citing United States v. Hamilton, 715 F.3d

328, 337 (11th Cir. 2013)). As the terminology in the statute makes clear,

compassionate release is “rare” and “extraordinary.” United States v. Willis, No. 15-

3764, 2019 WL 2403192, at *3 (D.N.M. June 7, 2019) (citations omitted).

      B. Stanton did not demonstrate that he first exhausted his
         administrative remedies and he fails to allege qualifying medical
         conditions.

      Stanton mostly contends he received an unjustly long prison sentence which

should be reduced. His request for compassionate release should be denied because

he has not established he has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on his behalf or that 30 days has

lapsed from the receipt of such a request by the warden of the Stanton’s facility. See

United States v. Dowlings, No. CR 413-171, 2019 WL 4803280, at *1 (S.D. Ga. Sept.

30, 2019) (“Defendant has not shown that he requested compassionate release from

the Bureau of Prisons or exhausted his administrative remedies.”). Moreover, the

statute and the Guidelines commentary make clear that compassionate release for

extraordinary and compelling reasons is limited to medical, elderly or family

circumstances.     Because Stanton failed to demonstrate an exhaustion of

administrative remedies or to allege any qualifying medical reasons, this Court

should deny his motion.

      As noted above, the First Step Act amended 18 U.S.C. § 3582(c)(1)(A) to allow

a court, upon a motion of the Director of BOP or the defendant, to modify a term of

imprisonment if it finds “extraordinary and compelling reasons warrant such a



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reduction . . . and that such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission . . . .” Title 28, United States Code, Section

994(t) provides the authority for the Sentencing Commission to define the meaning

of “extraordinary and compelling reasons” under § 3582(c)(1)(A).         Section 994(t)

explicitly states that “[r]ehabilitation of the defendant alone shall not be considered

an extraordinary and compelling reason.” U.S.S.G. § 1B1.13, application note 1,

defines “extraordinary and compelling reasons” to encompass three categories: (1)

medical condition of the defendant, (2) age of the defendant, (3) family circumstances.

      A fourth category, “other reasons” is left specifically to the determination of

the Director of BOP. See U.S.S.G. § 1B1.13, app. n. 1(D). As such, under the plain

language of § 1B1.13, the district court is without authority to determine “other

extraordinary and compelling reasons” outside of the situations in application note 1

(A) through (C). However, recognizing the discretion given to BOP under subsection

(D), the court also may look to the grounds set forth in the relevant BOP regulation

governing compassionate release, which appears at Program Statement 5050.50,

available     at   https://www.bop.gov/policy/progstat/5050_050_EN.pdf,        amended

effective January 17, 2019 in response to the First Step Act. 4 See United States v.

Lynn, No. , 2019 WL 3805349, at *3 (S.D. Ala. Aug. 13, 2019) (disagreeing that under

the First Step Act, court may include, under U.S.S.G. § 1B1.13, app. n.1(D), additional

extraordinary and compelling reasons apart from BOP’s determination).             While

BOP’s regulations may provide more detail regarding implementation of the grounds



      4   Hereafter referred to as “PS 5050.50.”
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contained in application note 1 (A) through (C), they still limit “extraordinary or

compelling circumstances” to specific medical circumstances, elderly inmates (either

70 years old with 30 years or more of service, or 65 years old with qualifying medical

conditions), death or incapacitation of the family member caregiver, or incapacitation

of a spouse or registered partner. See PS 5050.50 at 3-12.

      Stanton, who has the burden to justify release, alleges no medical conditions

in support, let alone qualifying medical conditions. He does not claim that he is

suffering from a terminal illness. See § 1B1.13, app. n.1(a)(i). Nor does he establish

that he is suffering from a serious physical medical condition, a serious functional or

cognitive impairment, or is experiencing deteriorating physical or mental health

because of the aging process, any of which substantially diminish his ability to

provide self-care within the environment of the correctional facility and from which

he is not expected to recover. See § 1B1.13, app. n.1(A)(ii). Stanton does not qualify

under § 1B1.13(B) because he is not 65 years old. (PSR at 6.) Moreover, he does not

provide evidence regarding the death or the incapacitation of the caregiver of his

minor children, or that he would be the only available caregiver for an incapacitated

spouse or registered partner. See § 1B1.13, app. n.1(C)(i)-(ii). Finally, none of his

stated reasons are extraordinary or compelling under BOP’s regulations. See PS

5050.50 at 3-19.

      Instead, under the auspices of the compassionate release statute, Stanton

attempts to relitigate his sentence in order to argue for a sentence reduction. But his

failure to allege a qualifying medical condition is fatal to his claim. See United States



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v. Bryant, No. 497-182 (S.D. Ga. Oct. 2, 2019) (order denying motion for

compassionate release based on reasons stated in government’s response, including

that defendant failed to allege qualifying medical condition). Therefore, this Court

is without jurisdiction to reduce Stanton’s sentence under § 3582(c)(1)(A) and §

1B1.13, and his motion should be denied.

                                   Conclusion

      For the foregoing reasons, the United States respectfully requests that

Defendant’s motion for a sentence reduction (Doc. 1386) be denied.

                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY

                                      //s// Justin G. Davids
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                           CERTIFICATE OF SERVICE

      This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) that was generated as a

result of electronic filing in this Court. Additionally, a copy has been mailed to:

      Terrance Gerard Stanton, Reg. No. 17790-021
      FCI Edgefield
      Federal Correctional Institution
      Inmate Legal Mail
      P.O. Box 725
      Edgefield, South Carolina

      This November 25, 2019.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY

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